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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                      BECKLEY DIVISION


DOROTHY ANN OILER,

                               Petitioner,

v.                                                    CIVIL ACTION NO. 5:08-cv-00995
                                                      (Criminal No. 5:06-cr-00098-02)

UNITED STATES OF AMERICA,

                               Respondent.


                          MEMORANDUM OPINION AND ORDER


         Pending before the Court is pro se Plaintiff Dorothy Oiler’s Motion under 28 U.S.C. § 2255

to Vacate, Set Aside or Correct Sentence by a Person in Federal Custody [Docket 285],* which was

filed May 5, 2009. Plaintiff has moved for reconsideration of the judgment entered April 21, 2009

[Docket 248], dismissing as untimely her Motion to Vacate, Set Aside, or Correct Sentence under

28 U.S.C. § 2255. Plaintiff now argues that the Court should consider the merits of her current §

2255 claim because she was not aware of the one-year period of limitation governing the filing of

motions for collateral relief under 28 U.S.C. § 2255. This is the same argument she made in her

initial § 2255 motion.

         28 U.S.C. § 2255 states that “[a] second or successive motion must be certified as provided

in section 2244 by a panel of the appropriate court of appeals . . .” Plaintiff’s instant Motion is

successive because she previously filed a § 2255 motion. Plaintiff has not obtained a certification


*
  Unless otherwise noted, docket numbers are the same in both Case Nos. 5:08-cv-00995 and 5:06-
cr-00098-02.
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from the Court of Appeals for the Fourth Circuit for her motion as required by §2255. Therefore,

the Court is not required to entertain this second motion. See United States v. King, 301 F. App’x.

215 (4th. Cir. 2008).

          Additionally, proper dismissal of a prior § 2255 motion as untimely renders successive any

future § 2255 motions challenging the same conviction or sentence. Stapleton v. United States, 392

F. Supp. 2d 754 (W.D. Va. 2005). Plaintiff’s first § 2255 motion was dismissed as untimely;

therefore, the current § 2255 motion is successive. Because Plaintiff did not meet the requirements

under 28 U.S.C. § 2255 for a successive § 2255 motion, her current motion is foreclosed by the

statute. Accordingly, Plaintiff’s current § 2255 motion [Docket 285] is DENIED as untimely and

successive. A separate Judgment Order will enter this day implementing the rulings contained

herein.

          IT IS SO ORDERED.

          The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                               ENTER:         SEPTEMBER 28, 2009




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